

Matter of Nobel v New York City Dept. of Bldgs. (2024 NY Slip Op 06659)





Matter of Nobel v New York City Dept. of Bldgs.


2024 NY Slip Op 06659


Decided on December 31, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 31, 2024

Before: Renwick, P.J., González, Rodriguez, Higgitt, Rosado, JJ. 


Index No. 156585/22 Appeal No. 3364 Case No. 2023-03589 

[*1]In the Matter of David Nobel, Petitioner,
vNew York City Department of Buildings, Respondent.


Miklosey &amp; Thompson, LLP, New York (Steven Edward Miklosey of counsel), for petitioner.
Muriel Goode-Trufant, Corporation Counsel, New York (Karin Wolfe of counsel), for respondent.



Determination of respondent New York City Department of Buildings, dated April 8, 2022, which, after a hearing, revoked petitioner's construction superintendent license, unanimously confirmed, the petition denied, and the proceeding brought pursuant to CPLR article 78 (transferred to this Court by order, Supreme Court, New York County [Richard Latin, J.], entered December 23, 2022) dismissed, without costs.
Substantial evidence in the record, including testimonial, documentary, and photographic evidence, supports the finding that petitioner offered a bribe to a Department of Buildings (DOB) inspector (see generally Matter of Berenhaus v Ward, 70 NY2d 436, 443 [1987]). Specifically, the record includes the inspector's contemporaneous complaint to DOB, his consistent testimony that petitioner attempted to give him cash to "take care of the . . . problem with the wiring," and the photos the inspector took of the cash and petitioner's ID. We find no basis for disturbing the Administrative Law Judge's credibility determinations (see Matter of Nelke v Department of Motor Vehs. Of the State of N.Y., 79 AD3d 433, 434 [1st Dept 2010]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 31, 2024








